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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

  BIOVERATIV INC., BIOVERATIV                      )
  THERAPEUTICS INC., and BIOVERATIV                )
  U.S. LLC,                                        )
                                                   )
                         Plaintiffs,               )
                                                   )
         v.                                        ) C.A. No. 17-914 (RGA)
                                                   )
  CSL BEHRING LLC, CSL BEHRING                     )
  GMBH, and CSL BEHRING                            )
  RECOMBINANT FACILITY AG,                         )
                                                   )
                         Defendants.               )

                        STIPULATION REGARDING CASE SCHEDULE

         WHEREAS, the parties have agreed to a deadline by which supplementation of written

  discovery responses must be completed and a deadline by which the parties must provide their

  experts’ availability for deposition;

         WHEREAS, the parties also wish to adjust the deadlines for opening and answering

  briefs for summary judgment and Daubert motions, but will leave in place the December 6, 2019

  deadline for reply briefs as ordered by the Court (see D.I. 167);

         IT IS HEREBY STIPULATED by the parties, subject to the approval of the Court, that

  supplementation of written discovery responses (including contentions) shall be completed no

  later than June 3, 2019, and that the parties will provide their experts’ availability for deposition

  no later than August 16, 2019;

         IT IS FURTHER STIPULATED by the parties, subject to the approval of the Court, that

  the case schedule is amended as shown in the table below, and that all other dates shall remain

  the same:
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  Event                              Current Deadline              Amended Deadline
  Case Dispositive/Daubert Motions   October 25, 2019              November 1, 2019
  and Opening Briefs
  Answering Briefs on Case           November 22, 2019             November 20, 2019
  Dispositive/Daubert Motions
  Reply Briefs on Case               December 6, 2019              same
  Dispositive/Daubert Motions
  Pretrial Conference                March 13, 2020 at 9:00        same
                                     a.m.
  Trial                              March 30, 2020                same


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  May 24, 2019

                 SO ORDERED this        day of              , 2019.


                                                 UNITED STATES DISTRICT JUDGE




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